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                  IN THE UNITED STATES DISTRICT COURT

10
               FOR THE CENTRAL DISTRICT OF CALIFORNIA

11
12                                        Case No. Misc. 21-43 DMG (MRW)
      UNITED STATES OF AMERICA,
13                                        REPORT AND RECOMMENDATION
                         Petitioner,      OF UNITED STATES MAGISTRATE
14                                        JUDGE
                 v.
15
      SPACE EXPLORATION
16    TECHNOLOGIES CORP., d/b/a/
      SPACEX,
17
                         Respondent.
18
19
20         This Report and Recommendation is submitted to the Honorable
21   Dolly M. Gee, United States District Judge, pursuant to 28 U.S.C. § 636 and
22   General Order 05-07 of the United States District Court for the Central
23   District of California.
24   SUMMARY OF RECOMMENDATION
25         The Immigrant and Employee Rights Section (IER) of the Department
26   of Justice seeks enforcement of a subpoena issued to Space Exploration
27   Technologies Corp. (SpaceX).
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 1         The Court (Magistrate Judge Wilner) concludes that IER demonstrated
 2   that its subpoena is relevant and enforceable to at least one ongoing
 3   investigation of the company. Further, there is an insufficient basis to
 4   conclude that the subpoena is overbroad or presents an undue burden to
 5   SpaceX. As a result, it is recommended that the application for an order
 6   compelling compliance with the subpoena be granted.
 7   FACTS AND PROCEDURAL HISTORY
 8         In May 2020, IER staff opened several investigations into SpaceX.
 9   One investigation involved an allegation that the company discriminated
10   against a specific individual (identified in IER’s records as “Charging Party”)
11   during the hiring process based on his citizenship status. (Docket # 1-3 at 2;
12   # 19-5 at 2; # 20-1 at 2. The government also commenced investigations into
13   whether SpaceX engaged in a broader pattern or practice of: (i) discrimination
14   based on citizenship status; and (ii) unfair documentary practices during the
15   employment eligibility verification / I-9 process based on citizenship status.
16   (Docket # 19-5 at 2.)
17         In connection with these investigations, IER requested a variety of
18   materials from SpaceX. Of relevance to this application, IER requested
19   companywide I-9 data and documentation for newly-hired employees.1
20   SpaceX produced an Excel spreadsheet containing Form I-9 data for all
21   individuals hired nationwide between June 2019 and August 2020
22   (approximately 3,500 people). (Docket # 19 at 10-11.) SpaceX refused,
23   however, to produce supporting documents (typically copies of passports,
24   Social Security cards, driver’s licenses, green cards, etc.). (Id.) The company
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26
           1    Form I-9 records an employer’s verification of the identity of an
27   employee and her/his eligibility to work lawfully in the United States. (Docket # 1-1
28   at 6.)

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 1   also refused to comply with a subpoena for those materials that an
 2   administrative law judge later issued. (Docket # 1-1 at 5.)
 3            This federal subpoena enforcement action followed. Among the
 4   arguments that SpaceX asserts for resisting the subpoena is the lack of
 5   apparent relevance between the broad I-9 document request and the
 6   investigation into the ill-fated hiring of the Charging Party. (Docket # 19
 7   at 12-13.) Additionally, at the hearing on the application, SpaceX expressed
 8   skepticism at the “coincidence” that IER started multiple investigations into
 9   the company – including an I-9 overdocumentation investigation – on the
10   same day in May 2020.
11            The Court offered the government an opportunity to make an in camera
12   presentation outside the presence of SpaceX’s lawyers to discuss the initiation
13   and scope of IER’s investigation into the company. IER declined.2 (Docket
14   # 21.)
15   RELEVANT FEDERAL LAW
16            The parties do not contest the governing legal standard for this Court to
17   apply in evaluating a request to compel compliance with a federal
18   administrative subpoena. (Docket # 1-1 at 10; # 19 at 11-12.) The key issues
19   are “(1) whether Congress has granted the authority to investigate;
20   (2) whether procedural requirements have been followed; and (3) whether the
21   evidence [sought by the subpoena] is relevant and material to the
22   investigation.” EEOC v. Karuk Tribe Housing Auth., 260 F.3d 1071, 1076
23   (9th Cir. 2001) (citation omitted); EEOC v. Federal Express Corp., 558 F.3d
24   842, 848 (9th Cir. 2009) (same). “An affidavit from a government official is
25   sufficient to establish a prima facie showing that these requirements have
26   been met.” FDIC v. Garner, 126 F.3d 1138, 1143 (9th Cir. 1997).
27            2   For the benefit of the assigned district judge and to facilitate any
28   appellate review, a copy of the IER letter is attached to this Report at Exhibit 1.

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 1           If a subpoena satisfies this test, compliance should be ordered “unless
 2   the party being investigated proves the inquiry is unreasonable because it is
 3   overbroad or unduly burdensome.” EEOC v. Children’s Hospital Medical
 4   Center of Northern California, 719 F.2d 1426, 1428 (9th Cir. 1983) (en banc)
 5   (overruled on other grounds); EEOC v. VF Jeanswear LP, 769 F. App’x 477,
 6   478 (9th Cir. 2019) (same).
 7           The scope of a federal court’s inquiry regarding enforcement of an
 8   administrative subpoena is “quite narrow.” Children’s Hospital, 719 F.2d
 9   at 1428. The Supreme Court has stated that a court’s role is “a
10   straightforward one”:
11              A district court is not to use an enforcement proceeding as
                an opportunity to test the strength of the underlying
12
                complaint[.] Rather, a district court should “satisfy itself
13              that the charge is valid and that the material requested is
14              ‘relevant’ to the charge.” [University of Pa. v. EEOC, 493
                U.S. 182, 191 (1990).] It should do so cognizant of the
15
                “generous” construction that courts have given to the
16              term “relevant.” [EEOC v. Shell Oil Co., 466 U.S. 54, 68-
17              69 (1984).]

18   McLane Co., Inc. v. EEOC, ___ U.S. ___, 137 S. Ct. 1159, 1165 (2017).

19           A district court’s evaluation of the relevance requirement in a subpoena

20   enforcement action can be a “fact-intensive, close call.” Id. at 1168 (citation

21   omitted). For this reason, a district court’s decision whether to enforce or

22   quash an administrative subpoena is “reviewed for abuse of discretion.” Id. at

23   1164.

24           In making its determination regarding the potential relevance of

25   information sought by a government subpoena, a district court “need not defer

26   to the [agency’s] decision on that score; it must simply answer the question

27   cognizant of the agency’s broad authority to seek and obtain evidence.” Id.

28   at 1169. The relevance of a subpoena is “generously construed,” and entitles

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 1   IER to access evidence that touches on “the charge under investigation[.]
 2   That limitation on the [agency’s] investigative authority is not especially
 3   constraining,” and extends to “virtually any material that might cast light on
 4   the allegations against the employer.” Shell Oil, 466 U.S. at 68-69.
 5         Nevertheless, the Supreme Court reminds district courts that there are
 6   outer limits to a federal agency’s broad investigative powers. A court may not
 7   construe the agency’s investigative authority so broadly that the “relevance
 8   requirement” becomes “a nullity.” Id. at 69. To that end, an administrative
 9   subpoena “may not be so broad as to be in the nature of a ‘fishing expedition.’”
10   Garner, 126 F.3d at 1146 (citation omitted); Krukhrov v. NLRB, No. Misc. 17-
11   64 SJO (SSx), 2017 WL 7806597 at *5 (C.D. Cal. 2017) (same). Moreover, a
12   district court may exercise its discretion to “make sure that [the agency]
13   doesn’t request vastly more information than it needs.” Federal Express
14   Corp., 558 F.3d at 856.
15                                         ***
16         IER has a broad statutory and regulatory mandate to conduct its
17   investigations. It may investigate a specific “charge received” from a
18   complaining victim of, or witness to, unfair immigration-related employment
19   discrimination. 8 U.S.C. § 1324b(d)(1). IER may also, “on [its] own initiative,
20   conduct investigations respecting unfair immigration-related employment
21   practices,” including overdocumentation in the I-9 process. Id. IER need only
22   have “reason to believe” that an employer is engaging in such misconduct to
23   conduct such an investigation. 28 C.F.R. § 44.304(a).
24   ANALYSIS
25         A fair reading of SpaceX’s papers suggests that the company does not
26   seriously challenge the first two elements of the Karuk Tribe / FedEx test.
27
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 1         IER unquestionably has the authority to investigate allegations of
 2   misconduct in the employment and I-9 documentation processes. 8 U.S.C.
 3   § 1324b. According to correspondence sent to the company months ago, the
 4   IER investigations are focused on whether SpaceX has engaged such patterns
 5   or practices. Moreover, the sworn declaration of an IER lawyer tersely attests
 6   that the agency “had information supporting a reason to believe” that such
 7   violations occurred. (Docket # 20-1 at 2.) Although there’s no meat on the
 8   bone, Ms. Sandoval’s skeletal declaration is sufficient to establish that IER
 9   commenced a legitimate investigation on its own initiative (that is, not based
10   on a charge presented by a specific party) regarding I-9 overdocumentation
11   claims. 8 C.F.R. § 44.304(a); Garner, 126 F.3d at 1143.
12         The procedural-requirement prong has also been met; IER provided
13   SpaceX with adequate notice of the existence of the investigation, the issuance
14   of the subpoena, and the initiation of this action in federal court. (Docket
15   # 1-1 at 12.) IER has satisfied those portions of the test for enforcement of the
16   subpoena. Federal Express Corp., 558 F.3d at 848.
17                                         ***
18         The real dispute is clearly whether the subpoena for the I-9 backup
19   documentation is relevant and material to any of IER’s investigations.
20   Applying the governing authority, this Court must undertake a “fact-
21   intensive” consideration of the scope of the agency’s inquiry and the
22   documents sought by the subpoena. McLane, 137 S. Ct. at 1168. That
23   consideration is hampered by the fact that the government declined – even in
24   a non-public context, and with the consent of the company – to explain to the
25   Court anything about the nature of its investigations into SpaceX.
26         At first blush, the IER subpoena does not appear to have any logical
27   relationship to the investigation initiated regarding the company’s decision
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 1   not to hire the Charging Party. Because SpaceX didn’t hire him, it necessarily
 2   never received I-9 materials from him. The same holds true for other
 3   unsuccessful job applicants who may have been in the same situation as the
 4   Charging Party and were allegedly subject to a pattern of employment
 5   discrimination based on citizenship status. IER’s request for I-9 documents
 6   therefore could only relate to materials submitted by people who were hired
 7   – and presumably were not the victims of citizenship-based discrimination.
 8   The government does not convincingly explain how these records could
 9   “cast light on” the company’s allegedly illegal hiring practices. Shell Oil, 466
10   U.S. at 68-69. Directly put, IER hasn’t remotely explained how I-9 records
11   obtained during the “onboarding” process for hired employees could be
12   probative of alleged misconduct of SpaceX either for refusing to hire the
13   Charging Party or for engaging in a pattern of discriminating against non-
14   U.S. citizens.4
15         IER is on firmer ground in asserting that the request for I-9 supporting
16   materials is relevant to its investigation of potential overdocumentation
17   violations under Section 1324b. It is, as the government points out, “hard to
18   imagine information more relevant to an unfair documentary practices
19   investigation [ ] than the Form I-9 supporting documentation of recent hires.”
20   (Docket # 1-1 at 14.) Further, the information that could potentially be
21   derived from the raw supporting documentation goes well beyond the basic
22   citizenship / employability data available from the face of the forms
23   themselves. And, notwithstanding SpaceX’s skepticism about the timing or
24
25         4      IER fudges this distinction by asserting that its investigations seek
     information about “potentially discriminatory practices broadly occurring during the
26   company’s screening and hiring processes.” (Docket # 20 at 16 (emphasis added).)
     The Court has no factual basis to evaluate this statement, nor can it make the leap
27   to conclude that post-hiring documentation could plausibly shine any light on such
28   pre-hiring events. Garner, 126 F.3d at 1146; Krukhrov, 2017 WL 7806597 at *5.

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 1   source of the unfair documentation investigation, IER has adequately
 2   demonstrated that it had a prima facie reason to open and conduct its
 3   independent inquiry.5 Garner, 126 F.3d at 1143.
 4         Finally, SpaceX has not convincingly carried its burden of proving that
 5   the IER subpoena is improperly overbroad. Children’s Hospital, 719 F.2d
 6   at 1428. The company’s complaint that it will be forced to produce
 7   “confidential records” for its workforce – “janitorial staff” included – is a
 8   non-starter. (Docket # 19 at 20.) The government may well be examining that
 9   too, and IER notes that the company uses uniform processes in its hiring /
10   onboarding practices nationally. Moreover, SpaceX is required by law to
11   obtain, maintain, and disclose those I-9 records on demand. (Docket # 1-1
12   at 14 (citing statute and regulations).) Yes, a full year of documentation for
13   new hires at a growing national corporation is a big request. (Docket # 19-1
14   at 4.) But SpaceX has not demonstrated that IED seeks “vastly more
15   information than it needs” to prove or disprove whether the company
16   committed overdocumentation violations. Federal Express Corp., 558 F.3d
17   at 856.
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24         5       To that end, the government correctly distinguishes out-of-circuit
25   judicial decisions cited in SpaceX’s papers (Burlington Northern Santa Fe R.R.,
     TriCore Reference Labs, and Royal Caribbean Cruises) that limited the enforcement
26   of EEOC subpoenas. (Docket # 20 at 15.) IER has considerably more robust
     statutory authority to open independent investigations than the EEOC staff.
27   Opinions that criticize the EEOC for misinterpreting the scope of their
28   investigations are of little import in the current context.

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 1   CONCLUSION
 2         IT IS THEREFORE RECOMMENDED that the District Judge issue an
 3   order: (1) accepting the findings and recommendations in this Report;
 4   (2) granting IER’s application for an order compelling compliance with the
 5   subpoena; and (3) ordering SpaceX to comply with the subpoena.
 6
 7
     Dated: March 29, 2021
 8                                         _______________________________________
 9                                         HON. MICHAEL R. WILNER
                                           UNITED STATES MAGISTRATE JUDGE
10
11
12   cc:   Acting U.S. Attorney Tracy L. Wilkison6
13
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22
     6      As noted above and in an earlier order, a quick in camera discussion between
23   the judge and the DOJ lawyers might have resolved this dispute between IER and
24   SpaceX. (Docket # 21.) It also could have obviated the need to expend judicial
     resources in this busy federal court. Fed. R. Civ. P. 1 (litigants should seek “the just,
25   speedy, and inexpensive determination of every action and proceeding”).
     Experienced local civil and criminal division Assistant U.S. Attorneys would likely
26   have jumped at the chance to do so, even if such a discussion wasn’t strictly required
     under any statute. In the interests of openness, I’ll send a copy of this Report to our
27   district’s U.S. Attorney so she’ll know how her out-of-town colleagues handled the
28   matter.

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                                        U.S. Department of Justice
                                                         Civil Rights Division

                                                         Immigrant and Employee Rights Section – 4CON
                                                         950 Pennsylvania Ave, NW
                                                         Washington, DC 20530
                                                         Main (202) 616-5594
                                                         Fax (202) 616-5509


                                                         March 18, 2021

   BY E-MAIL

   The Honorable Michael R. Wilner
   Magistrate Judge
   United States District Court for the Central District of California
   Roybal Federal Building and United States Courthouse
   255 E. Temple St.,
   Courtroom 550, 5th Floor
   Los Angeles, CA, 900012
   MRW Chambers@cacd.uscourts.gov


                  Re:     United States of America v. Space Exploration Technologies Corp., d/b/a
                          SpaceX, No. 2:21-mc-00043-DMG-MRW

   Dear Judge Wilner:

            The United States, through the Immigrant and Employee Rights Section (“IER”), submits
   this letter in response to the Court’s proposal to allow IER to augment the evidence provided in
   this proceeding through an in-camera review. IER finds that it must respectfully decline the
   Court’s offer of an in-camera review, because the submission of further information about the
   basis for IER’s investigation of SpaceX is not necessary nor required for the resolution of the
   subpoena enforcement matter now before the Court. No authority has been identified that
   requires IER to disclose the reasons that justify its decision to initiate an independent
   investigation under 8 U.S.C. §1324b. See Reply Br. 12-13; In Re Investigation of Space
   Exploration Technologies Corp. d/b/a SpaceX, 14 OCAHO no. 1378 at 3, 2020 WL 7319344, at
   *2-3 (2020) (rejecting SpaceX’s contention that “IER’s refusal to explain its reason for
   investigating” rendered the Subpoena unenforceable); see also In Re Investigation of Carolina
   Emps. Ass’n, Inc., 3 OCAHO 455, 611, 1992 WL 535611, at *5 (Sept. 17, 1992). We do not
   construe the Court’s proposed meeting to create such a requirement. Accordingly, as IER’s
   Application to Enforce the Subpoena satisfies all the applicable tests and standards governing the
   enforcement of administrative subpoenas, this Court should enforce the subpoena.

            However, to address this Court’s interest, IER provides the following additional
   clarification about general considerations underlying its exercise of discretion to initiate an
   investigation. Within ten days of determining that a charge submission provides all the
   information determined by the Attorney General as necessary to make a charge “complete,” IER
   is statutorily required to notify the employer of the investigation. See 8 U.S.C. §1324b(b)(1); 28
   CFR § 44.301(a). During this ten-day period, IER routinely engages in an initial investigation
   including but not limited to publicly available information about the company and/or additional

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   information from the Charging Party to better refine and focus IER’s investigation. It is not
   unusual for IER to obtain information during the ten-day period that supports a reason to believe
   that the employer may be engaging in systemic discrimination against individuals other than the
   Charging Party in violation of §1324b. Consequently, IER regularly expands charge-based
   investigations to include investigation(s) of systemic discrimination (“pattern or practice”
   investigations) in violation to 8 U.S.C. § 1324b close in time to receiving a charge. When such
   an expansion occurs, IER typically issues a single notice letter that notifies the respondent of
   both the charge and the pattern or practice investigation.



                                                       Sincerely,

                                                       Jennifer A. Deines
                                                       Acting Deputy Special Counsel

                                                       C. Sebastian Aloot
                                                       Special Litigation Counsel



                                                       _________________________

                                                       Lisa R. Sandoval
                                                       Sejal P. Jhaveri
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